       Case 2:19-cv-00864-MHT-WC Document 1 Filed 11/08/19 Page 1 of 16



                           UNITED STATES DISTRICT COURT                              r'"47   -N            ?""   8
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                        FOR THE MIDDLE DISTRICT OF ALABAMA
                                 NORTHERN DIVISION



FRED NEKOUEE,Individually,



vs.
                Plaintiff,
                                                     Case No.:   a..                &old.
APPLE OF NORTH ALABAMA,INC., an
Alabama Corporation,

                Defendant.




                                         COMPLAINT
                                  (Injunctive ReliefDemanded)

        PLAINTIFF, FRED NEKOUEE, Individually, on his behalf and on behalf of all other

mobility impaired individuals similarly situated, (sometimes referred to as "Plaintiff), hereby

sues the Defendant, Apple of North Alabama, Inc., an Alabama Corporation (sometimes referred

to as "Defendanr), for Injunctive Relief, as well as attorney's fees, litigation expenses, and costs

pursuant to the Ainericans with Disabilities Act,42 U.S.C. § 12181 et seq.("ADA").

        1.      Plaintiff, Fred Nekouee, is an individual who resides in Tampa, Florida, in the

County of Hillsborough.

        2.      Defendant's property, Applebee's restaurant (Carter Hill Store #9), is located at

3001 Carter Hill Road, Montgomery, AL 36111, in the County of Montgomery.

        3.      Venue is properly located in the Middle District of Alabama because venue lies in

thejudicial district ofthe property situs. The Defendant's property is located in and does business

within this judicial district.
        Case 2:19-cv-00864-MHT-WC Document 1 Filed 11/08/19 Page 2 of 16



        4.     Pursuant to 28 U.S.C. § 1331 and 28 U.S.C. § 1343, this Court has been given

original jurisdiction over actions which arise from the Defendant's violations of Title III of the

Americans with Disabilities Act, 42 U.S.C. § 12181 et m. See also 28 U.S.C. § 2201 and §

2202.

        5.     Plaintiff, Fred Nekouee, is a Florida resident, is sui juris, and qualifies as an

individual with disabilities as defined by the ADA. Fred Nekouee has progressive multiple

sclerosis and requires the use of a wheelchair for mobility. Mr. Nekouee travels to Montgomery,

Alabama every three to six months to attend heavy equipment auctions, or to visit heavy

equipment dealerships, where he compares prices to equiprnent available in other areas, and to

evaluate whether to buy or sell heavy equipment.

        6.     Fred Nekouee has visited the property and has had food and drink in the restaurant

in June 2016,January 2018 and June 2018 which forms the basis ofthis lawsuit. Plaintiffplans to

return to the property to avail himselfofthe goods and services offered to the public at the property

since he likes the food in Applebee's and it is close to the heavy equipment auction, when traveling

to and from Montgomery. He recently visited the subject property on October 24,2019. He has

definite plans to return to this area in March 17-21, 2020 to attend heavy equipment auctions.

        7.     The Plaintiff has encountered architectural barriers at the subject property. The

barriers to access that the Plaintiff encountered at the property have endangered his safety,

impaired his ability to park a vehicle, irnpaired his ability to access the property due to excessively

steep slopes in parking spaces, access aisles, and ramps for the disabled, and have impaired his use

ofthe restroorn in the Applebee's restaurant.

        8.     The Plaintiffs need to use a wheelchair limits his rnobility when surfaces are not

nearly flat. The Plaintiff cannot move up or down steep inclines in his wheelchair because he
       Case 2:19-cv-00864-MHT-WC Document 1 Filed 11/08/19 Page 3 of 16



lacks the strength and also risks tipping his wheelchair forwards or backwards. Excessively steep

cross slopes causes the Plaintiffto be unstable in his wheelchair and such excessively steep slopes

pose a risk of causing the Plaintiff to tip over sideways in his wheelchair.

       9.      On his visits to Applebee's, the Plaintiff encountered excessively steep running

slopes in its parking lot, access aisles and walking surfaces (sidewalks).            The Plaintiff

encountered and observed baniers to access in the men's restroom in Applebee's; and so, he also

tried to use the women's restroom, in which women's restroom he also encountered and observed

baniers to access.

        10.    The Plaintiff is deterred from visiting this Applebee's restaurant (Carter Hill Store

#9) even though he enjoys its food because of the difficulties he will experience there until the

property is made accessible to him in a wheelchair.

        11.    Defendant owns, leases, leases to, or operates a place of public accommodation as

defined by the ADA and the regulations implementing the ADA,28 CFR 36.201(a) and 36.104.

Defendant is responsible for complying with the obligations of the ADA. The place of public

accommodation that the Defendant owns, operates, leases or leases to is known as Applebees

restaurant(Carter Hill Store #9)is located at 3001 Carter Hill Road,Montgomery, AL 36111 in the

County of Montgomery.

        12.    Fred Nekouee has a realistic, credible, existing and continuing threat of

discrimination from the Defendant's non-compliance with the ADA with respect to this property

as described in the allegations in paragraphs 17 through 79 of this Complaint. These violations

either inhibit or prohibit the Plaintifffrom safely and easily accessing the property. Plaintiff has

reasonable grounds to believe that he will continue to be subjected to discrimination in violation of

the ADA by the Defendant.




                                                      3
       Case 2:19-cv-00864-MHT-WC Document 1 Filed 11/08/19 Page 4 of 16



        13.       Fred Nekouee desires to visit the Defendant's Applebee's restaurant not only to

avail himself of the goods and services available at the property, but to assure himself that this

property is in compliance with the ADA so that he and others similarly situated will have full and

equal enjoyment ofthe property without fear of discrimination.

        14.       The Defendant has discriminated against the individual by denying him access to,

and full and equal enjoyment of, the goods, services, facilities, privileges, advantages and/or

accommodations ofthe buildings, as prohibited by 42 U.S.C. § 12182 et m.

        15.       The Defendant has discriminated, and is continuing to discriminate, against the

Plaintiff in violation of the ADA by failing to, inter alia, have accessible facilities by January 26,

1992(or January 26, 1993,ifDefendant has 10 or fewer employees and gross receipts of$500,000

or less).

        16.       Preliminary inspections of the Applebee's have shown that violations exist. The

violations that Fred Nekouee personally encountered or observed include, but are not limited to:

            17.   In the parking lot, there are no parking spaces for disabled patrons with van

accessible signage which makes it difficult for a disabled person with van to find a parking space

in violation ofFederal Law 2010 ADAAG §§ 208.2.4 and 502.6.

            18.   The removal of the barrier to access alleged in the foregoing paragraph is readily

achievable.

            19.   The access aisle serving the accessible car space on the southwest side of the

restaurant is 56 inches and less than the minimum required width of 60 inches (1525 mm)for

regular accessible car space or 96(2438 mm)inches for van accessible car space in violation of

Federal Law 2010 ADAAG § 502.3.1 which makes it difficult for a disabled individual in a

wheelchair to use the access aisle.
       Case 2:19-cv-00864-MHT-WC Document 1 Filed 11/08/19 Page 5 of 16



        20.     The removal of the barrier to access alleged in the foregoing paragraph is readily

achievable.

        21.     In the parking lot, the parking space for disabled patrons on the southwest side of

the restaurant has excessive running slope, as high as 1:20.8 (4.8%), which is steeper than the

maximum allowed slope of 1:48 (2%), in violation of Federal Law 2010 ADAAG § 502.4. This

makes it extremely difficult for an individual in wheelchair to climb the ramp and access the stores.

        22.     The removal of the barrier to access alleged in the foregoing paragraph is readily

achievable.

        23.     In the parking lot, the running slope ofthe access aisle serving the disabled parking

spaces on the southwest side of the restaurant is 1:21.3 (4.7%), which exceeds the maximum

allowed slope of 1:48 (2%) in violation of Federal Law 2010 ADAAG § 502.4. This makes it

extremely difficult for an individual in wheelchair to stay stable and avoid rolling down on the

access aisle.

        24.     The removal of the barrier to access alleged in the foregoing paragraph is readily

achievable.

        25.     In the parking lot, the cross slope of the access aisle serving the disabled parking

spaces on the southwest side ofthe restaurant is 1:12.5(8%), which exceeds the maximum allowed

slope of 1:48(2%)in violation of Federal Law 2010 ADAAG § 502.4. This makes it extremely

difficult for an individual in wheelchair to stay stable on the access aisle.

        26.     The removal of the barrier to access alleged in the foregoing paragraph is readily

achievable.

        27.     The cross slope of the walking surface or sidewalk from the accessible parking

spaces on the side of the restaurant towards the restaurant entrance is 1:13.5 (7.4%) and exceeds




                                                      5
       Case 2:19-cv-00864-MHT-WC Document 1 Filed 11/08/19 Page 6 of 16



the maximum allowed slope of 1:48(2%)in violation ofFederal Law 2010 ADAAG § 403.3. This

makes it extremely difficult for an individual in wheelchair to keep stability while moving.

        28.    The removal of the barrier to access alleged in the foregoing paragraph is readily

achievable.

        29.    The running slope ofthe accessibility ramp on the southwest side ofthe restaurant

is 1:7.2(13.9%) which is dangerously greater than the maximum allowed slope of 1:12(8%),in

violation of Federal Law 2010 ADAAG § 405.2. This makes it difficult for an individual in

wheelchair to climb the ramp and very dangerous when coming down.

        30.    The removal of the barrier to access alleged in the foregoing paragraph is readily

achievable.

        31.    The running slope of the accessibility ramp in front of the restaurant (on the

northwest side of the property) entrance is 1:6.9 (14.4%) which is dangerously greater than the

maximum allowed slope of 1:12(8%), in violation of Federal Law 2010 ADAAG § 405.2. This

makes it difficult for an individual in wheelchair to climb the ramp and very dangerous when

coming down.

        32.    The removal of the barrier to access alleged in the foregoing paragraph is readily

achievable.

        33.    The slope ofthe accessibility curb ramp sides or flares on the southwest side ofthe

restaurant are 1:4.6 (21.9 %) which is dangerously greater than the 1:10 (10%) permitted, in

violation ofFederal Law 2010 ADAAG § 406.3. The excessive flare slope does not accommodate

maneuvering for an individual in wheelchair while climbing up or may cause hazardous overturn

while going down the ramp.

        34.    The removal of the barrier to access alleged in the foregoing paragraph is readily




                                                   6
       Case 2:19-cv-00864-MHT-WC Document 1 Filed 11/08/19 Page 7 of 16



achievable.

        35.    The slope of the accessibility curb ramp sides or flares in front of the restaurant

entrance door on the northwest side ofthe building are 1:3.3(29.9 %)which is dangerously greater

than the 1:10(10%)permitted, in violation of Federal Law 2010 ADAAG § 406.3. The excessive

flare slope does not accommodate maneuvering for an individual in wheelchair while climbing up

or may cause hazardous overturn while going down the ramp.

        36.    The removal of the barrier to access alleged in the foregoing paragraph is readily

achievable.

        37.    The accessibility ramp on the side ofthe southwest side ofthe restaurant does not

have proper landing at the top ofthe ramp with slope ofless than 2%.The ramp slope is as high as

13.9%, which makes maneuvering to and from the ramp very difficult for an individual in a

wheelchair in violation ofthe Federal Law 2010 ADAAG 405.7.

        38.    The removal of the barrier to access alleged in the foregoing paragraph is readily

achievable.

        39.    The slope ofthe surface within the restaurant entrance door on the northwest side of

the restaurant required maneuvering space of60 inches is 1:28.6(3.5%)inches which exceeds the

maximum allowed slope of 1:48(2%)within the door maneuvering space making it very difficult

for an individual in a wheelchair to open the door without sliding in violation of the Federal Law

2010 ADAAG § 404.2.4.4.

        40.    The removal of the barrier to access alleged in the foregoing paragraph is readily

achievable.

        41.    The force needed to open the Applebee's restaurant door is 8 pounds which exceeds

the maximum allowed force of5 pounds(22.2 N)pertaining to the continuous application offorce




                                                    7
       Case 2:19-cv-00864-MHT-WC Document 1 Filed 11/08/19 Page 8 of 16



necessary to fully open a door. The required force makes it difficult to open the door by a disabled

individual in violation ofFederal Law 2010 ADAAG § 404.2.9.

        42.    The removal of the bather to access alleged in the foregoing paragraph is readily

achievable.

        43.    The counters throughout the facility in Applebees restaurant are 42 inches high and

exceeds the maximum allowed counter height of 36 inches, which makes it very difficult for an

individual in wheelchair to access objects in violation ofFederal Law 2010 ADAAG § 904.4.1.

        44.    The removal of the barrier to access alleged in the foregoing paragraph is readily

achievable.

        45.    The Applebees men's restroom door pull side maneuvering clearance in a front

approach beyond the latch and parallel to the doorway is 15 inches and less than the minimum

required clearance of 18 inches which is the minimum clearance as required by Federal Law 2010

ADAAG Sections § 404.2.4.This makes it difficult for an individual in wheelchair to open the

restroom door.

        46.    The removal of the barrier to access alleged in the foregoing paragraph is readily

achievable.

        47.    The side wall grab bar in Applebees men's restroom only extends 48 inches from

the rear wall and does not extend the minimum of 54 inches(1370 mm)minimum from the rear

wall. This makes it difficult for an individual in a wheelchair to support himself while using the

grab bar and sitting on the toilet and is in violation ofFederal Law 2010 ADAAG § 604.5.1.

        48.    The removal of the barrier to access alleged in the foregoing paragraph is readily

achievable.

        49.    The restroom rear grab bar in Applebees men's restroorn is blocked by the flush




                                                     8
       Case 2:19-cv-00864-MHT-WC Document 1 Filed 11/08/19 Page 9 of 16



control and plumbing which does not allow a proper grip for an individual in a wheelchair while

trying to sit on the toilet and is in violation ofFederal Law 2010 ADAAG § 604.5.2. This made it

difficult for Mr. Nekouee to use the rear grab bar and access the toilet.

        50.    The removal of this barrier to access alleged in the foregoing paragraph is readily

achievable.

         51.   The top gripping surface of the grab bars in Applebees men's restroom are at 38

inches above the finished floor and not within the range of 33 inches(840 mm)minimum and 36

inches (915 mm)maximum above the finish floor as required by Federal Law 2010 ADAAG §

609.4. The elevated grab bars make it difficult for an individual in a wheelchair to grab and support

himself while sitting on the toilet.

         52.   The removal of the barrier to access alleged in the foregoing paragraph is readily

achievable.

         53.   The urinal rim in Applebees men's restroom is 19 inches high above the finish floor

in violation of federal law which states a maximum of 17 inches required for an individual in a

wheelchair to use a urinal pursuant to ADAAG § 605.2.

         54.   The removal of the barrier to access alleged in the foregoing paragraph is readily

achievable.

         55.   The clear floor space of30 by 48 inches for urinal use in Applebees men's restroom

that allows a forward approach by a person using a wheelchair is not provided(door comes into the

48 inch clearance), which makes it difficult for an individual in a wheelchair to use the urinal in

violation ofFederal Law 2010 ADAAG §§ 305.7 and 605.3.

        56.    The removal ofthis barrier to access is readily achievable.

        57.    The toilet paper dispenser in Applebees men's restroom is outside the reach range




                                                     9
         Case 2:19-cv-00864-MHT-WC Document 1 Filed 11/08/19 Page 10 of 16



ofan individual in a wheelchair, which dispenser centerline is 12 inches from the front ofthe water

closet and not between 7 inches minimum and 9 inches maximum. This makes it difficult for an

individual in wheelchair to use the toilet paper, and is in violation ofFederal Law 2010 ADAAG §

604.7.

          58.   The removal of the barrier to access alleged in the foregoing paragraph is readily

achievable.

          59.   The paper towel dispenser outlet in Applebee's men's restroom is 50 inches above

the floor, outside the reach range of an individual in wheelchair, minimum of 15 inches(380 mm)

maximum of48 inches(1220 mm),in violation ofFederal Law 2010 ADAAG § 308.2.1.

          60.   The removal of the barrier to access alleged in the foregoing paragraph is readily

achievable.

          61.   In the Applebee's men's restroom,the door handle requires tight grasping, pinching,

or twisting ofthe wrist and cannot be opened with a closed fist or loose grip in violation ofFederal

Law 2010 ADAAG § 309.4 and 404.2.7.

          62.   The removal of the barrier to access alleged in the foregoing paragraph is readily

achievable.

          63.   The accessible toilet compartment door in Applebee's men's restroom swings into

the compartment area which is in violation of Federal Law 2010 ADAAG Section § 604.8.1.2,

which does not provide enough clearance for an individual in a wheelchair to open and close the

compartment door.

          64.   The removal of the barrier to access alleged in the foregoing paragraph is readily

achievable.

          65.   The accessible toilet compartment door pull in Applebee's men's restroom is not




                                                    10
      Case 2:19-cv-00864-MHT-WC Document 1 Filed 11/08/19 Page 11 of 16



provided on both sides of the door near the latch which makes it difficult for an individual in

wheelchair to open and close the compartment door and is in violation of Federal Law 2010

ADAAG Section § 604.8.1.2.

        66.    The removal of the barrier to access alleged in the foregoing paragraph is readily

achievable.

        67.    The Applebee's women's restroom door pull side maneuvering clearance in a front

approach perpendicular to the doorway is 56 inches and less than 60 inches which is the

minimum clearance for an individual in a wheelchair to open the door and is in violation ofFederal

Law 2010 ADAAG Sections § 404.2.4.

        68.    The removal of the barrier to access alleged in the foregoing paragraph is readily

achievable.

        69.    The side wall grab bar in Applebee's women's restroom only extends 48 inches

from the rear wall and does not extend the 54 inches(1370 mm)minimum from the rear wall. This

makes it very difficult for an individual in a wheelchair to support himself while using the grab bar

and sitting on the toilet and is in violation of Federal Law 2010 ADAAG § 604.5.1..

        70.    The removal of the barrier to'access alleged in the foregoing paragraph is readily

achievable.

        71.    The restroom rear grab bar in ApPlebee's women's restroom is blocked by the flush

control and plumbing which does not allow a proper grip for an individual in a wheelchair while

sitting on toilet and in violation of Federal Law 2010 ADAAG § 604.5.2.

        72.    The removal of the barrier to access alleged in the foregoing paragraph is readily

achievable.

        73.    The toilet paper dispenser in Applebee's women's restroom is outside the reach




                                                     11
      Case 2:19-cv-00864-MHT-WC Document 1 Filed 11/08/19 Page 12 of 16



range Ofan individual in a wheelchair, which dispenser centerline is 16 inches from the front ofthe

water closet and not between 7 inches minimum and 9inches maximum. This makes it difficult for

an individual in a wheelchair to use the toilet paper which is in violation of Federal Law 2010

ADAAG § 604.7.

           74.   The removal of the barrier to access alleged in the foregoing paragraph is readily

achievable.

           75.   The paper towel dispenser outlet in Applebee's women's restroom is 50 inches

above the floor, outside the reach range of an individual in a wheelchair, minimum of 15 inches

(380 mm) maximum of 48 inches (1220 mm), in violation of Federal Law 2010 ADAAG §

308.2.1.

           76.   The removal of the barrier to access alleged in the foregoing paragraph is readily

achievable.

           77.   The accessible toilet compartment door pull in Applebee's women's restroom is not

provided on both sides of the door near the latch which is in violation of Federal Law 2010

ADAAG Section § 604.8.1.2.

           78.   The removal of the barrier to access alleged in the foregoing paragraph is readily

achievable.

       79.       The accessible features of the facility are not maintained, creating barriers to

access for the Plaintiff as set forth herein, in violatiOn of28 CFR §36.211.

       80.       All of the foregoing violations are also violations of the 1991 Americans with

Disability Act Accessibility Guidelines(ADAAG),and the 2010 Standards for Accessible Design,

as promulgated by the U.S. Department of Justice.

       81.       The discriminatory violations described in paragraphs 17- 79 are not an exclusive




                                                     12
      Case 2:19-cv-00864-MHT-WC Document 1 Filed 11/08/19 Page 13 of 16



list ofthe Defendant's ADA violations. Plaintiffrequires the inspection ofthe Defendant's place

of public accommodation in order to photograph and measure all of the discriminatory acts

violating the ADA and all of the barriers to access. The individual Plaintiff, and all other

individuals similarly situated, have been denied access to, and have been denied the benefits of

services, programs and activities ofthe Defendant's buildings and its facilities, and have otherwise

been discriminated against and damaged by the Defendant because of the Defendant's ADA

violations, as set forth above. The individual Plaintiff, and all others similarly situated will

continue to suffer such discrimination, injury and damage without the immediate relief provided

by the ADA as requested herein. In order to remedy this discriminatory situation, the Plaintiff

requires an inspection ofthe Defendant's place of public accommodation in order to determine all

ofthe areas ofnon-compliance with the Americans with Disabilities Act.

       82.     Defendant has discriminated against the individual by denying them access to full

and equal enjoyment of the goods, services, facilities, privileges, advantages and/or

accommodations of its place of public accommodation or commercial facility in violation of 42

U.S.C. § 12181 et seq. and 28 CFR 36.302 et seq. Furthermore, the Defendant continues to

discriminate against the Plaintiff, and all those similarly situated, by failing to make reasonable

modifications in policies, practices or procedures, when such modifications are necessary to afford

all offered goods, services, facilities, privileges, advantages or accommodations to individuals

with disabilities; and by failing to take such efforts that may be necessary to ensure that no

individual with a disability is excluded, denied services, segregated or otherwise treated

differently than other individuals because ofthe absence of auxiliary aids and services.

       83.     Plaintiff is without adequate remedy at law and is suffering irreparable harm.

Considering the balance of hardships between the Plaintiff and Defendant, a remedy in equity is




                                                13
      Case 2:19-cv-00864-MHT-WC Document 1 Filed 11/08/19 Page 14 of 16



warranted.

       84.     Plaintiff has retained the undersigned counsel and is entitled to recover attorney's

fees, costs and litigation expenses from the Defendant pursuant to 42 U.S.C. § 12205 and 28 CFR

36.505.

       85.     Defendant is required to remove the existing architectural barriers to the physically

disabled when such removal is readily achievable for its place of public accommodation that have

existed prior to January 26, 1992, 28 CFR 36.304(a); in the alternative, if there has been an

alteration to Defendant's place of public accommodation since January 26, 1992, then the

Defendant is required to ensure to the maximum extent feasible, that the altered portions of the

facility are readily accessible to and useable by individuals with disabilities, including individuals

who use wheelchairs, 28 CFR 36.402; and finally, if the Defendant's facility is one which was

designed and constructed for first occupancy subsequent to January 26, 1993, as defined in 28 CFR

36.401, then the Defendant's facility must be readily accessible to and useable by individuals with

disabilities as defined by the ADA.

       86.     Notice to Defendant is not required as a result ofthe Defendant's failure to cure the

violations by January 26, 1992(or January 26, 1993,if Defendant has 10 or fewer employees and

gross receipts of$500,000 or less). All other conditions precedent have been met by Plaintiff or

waived by the Defendant.

       87.     Pursuant to 42 U.S.C. § 12188, this Court is provided with authority to grant

Plaintiff Injunctive Relief, including an order to require the Defendant to alter Applebees

restaurant (Carter Hill Store #9) to make those facilities readily accessible and useable to the

Plaintiff and all other persons with disabilities as defined by the ADA; or by closing the facility

until such time as the Defendant cures its violations ofthe ADA. The Order shall further require




                                                 14
      Case 2:19-cv-00864-MHT-WC Document 1 Filed 11/08/19 Page 15 of 16



the Defendant to maintain the required assessable features on an ongoing basis, and to require the

institution ofa policy that requires Defendant to maintain its accessible features.

       WHEREFORE,Plaintiffrespectfully requests:

       a.      The Court issue a Declaratory Judgment that determines that the Defendant at the

commencement ofthe subject lawsuit is in violation ofTitle III ofthe Americans with Disabilities

Act,42 U.S.C. § 12181 et seq.

       b.      Injunctive relief against the Defendant including an order to make all readily

achievable alterations to the facility; or to make such facility readily accessible to and usable by

individuals with disabilities to the extent required by the ADA; and to require the Defendant to

make reasonable modifications in policies, practices or procedures, when such modifications are

necessary to afford all offered goods, services, facilities, privileges, advantages or

accommodations to individuals with disabilities; and by failing to take such steps that may be

necessary to ensure that no individual with a disability is excluded, denied services, segregated or

otherwise treated differently than other individuals because of the absence of auxiliary aids and

services.

       c.      An award of attorney's fees, costs and litigation expenses pursuant to 42 U.S.C.

§ 12205.




                                                15
      Case 2:19-cv-00864-MHT-WC Document 1 Filed 11/08/19 Page 16 of 16




       d.     Such other relief as the Court deems just and proper, and/or is allowable under

Title III ofthe Americans with Disabilities Act.

                                             Respect    submi

Dated: /0/z /                                            /     #gv
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                                               16
